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15   RICHARD A. WILLIAMSON, ON BEHALF
16   OF AND AS TRUSTEE FOR AT HOME
     BONDHOLDERS’ LIQUIDATING TRUST
17
                                 UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
                                       SAN JOSE DIVISION
19
     RICHARD A. WILLIAMSON, ON BEHALF            Case No. 5:15-CV-00966-BLF
20   OF AND AS TRUSTEE FOR AT HOME
     BONDHOLDERS’ LIQUIDATING TRUST,             STIPULATION AND [PROPOSED] ORDER
21                                               AMENDING SCHEDULING ORDER
                  Plaintiff,                     REGARDING EXPERT DISCOVERY
22
            v.                                   Judge: Hon. Beth Labson Freeman
23
     GOOGLE LLC,                                 Place: Courtroom 3, 5th Floor
24
                  Defendant.
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     STIPULATION AND [PROPOSED] ORDER        1                     CASE NO.: 5:15-CV-00966-BLF
     AMENDING SCHEDULING ORDER REGARDING
     EXPERT DISCOVERY
        Case 5:15-cv-00966-BLF Document 281 Filed 08/06/18 Page 2 of 5



 1                  Plaintiff and Defendant (collectively, the “Parties”), through their respective

 2   undersigned counsel, hereby stipulate as follows:

 3                  WHEREAS, the deadline for the end of expert discovery as set by the Court Order

 4   Amending Expert Discovery (D.I. 240) is August 9, 2018.

 5                  WHEREAS, the expert discovery deadline has been amended once. See D.I. 240.

 6   Prior to the Court’s April 18, 2018 order extending the close of expert discovery to August 9, 2018,

 7   expert discovery was previously set to close on August 2, 2018.

 8                  WHEREAS, to accommodate witness and attorney availability, the Parties have

 9   agreed to extend expert discovery to August 22, 2018.

10                  WHEREAS, parties anticipate being able to complete expert discovery by August
11   22, 2018.
12                  WHEREAS, extending the deadline for the end of expert discovery will not affect
13   any other deadlines in this matter.
14                  Pursuant to Civil L.R. 6-2 and 7-12, it is hereby stipulated and agreed to by the
15   Parties that the deadlines for the expert witness disclosures and the end of expert discovery shall be
16   modified as follows:
17
                                                             Current Dates
                            Event                              (D.I. 240)          Stipulated Dates
18

19
       End of Expert Discovery                               Aug. 9. 2018            Aug. 22 2018
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22   IT IS SO STIPULATED.
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     STIPULATION AND [PROPOSED] ORDER                    2                     CASE NO.: 5:15-CV-00966-BLF
     AMENDING SCHEDULING ORDER REGARDING
     EXPERT DISCOVERY
        Case 5:15-cv-00966-BLF Document 281 Filed 08/06/18 Page 3 of 5



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 2                                             Respectfully submitted,
     Dated: August 03, 2018
 3
     KEKER, VAN NEST & PETERS LLP              WEIL, GOTSHAL & MANGES LLP
 4

 5
     By: /s/ Matthias Kamber                   By: /s/ Justin Constant
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                                                    Attorneys for Plaintiff
19                                                  Richard A. Williamson, On Behalf Of
20                                                  And As Trustee For At Home Bondholders’
                                                    Liquidating Trust
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     STIPULATION AND [PROPOSED] ORDER          3                         CASE NO.: 5:15-CV-00966-BLF
     AMENDING SCHEDULING ORDER REGARDING
     EXPERT DISCOVERY
        Case 5:15-cv-00966-BLF Document 281 Filed 08/06/18 Page 4 of 5



 1                                            ATTESTATION
 2          In accordance with Local Rule 5-1(i)(3), concurrence in the filing of this document has been

 3   obtained from each of the signatories listed above.

 4
                                                  By: /s/ Justin L. Constant
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     STIPULATION AND [PROPOSED] ORDER                 4                        CASE NO.: 5:15-CV-00966-BLF
     AMENDING SCHEDULING ORDER REGARDING
     EXPERT DISCOVERY
        Case 5:15-cv-00966-BLF Document 281 Filed 08/06/18 Page 5 of 5



 1         IT IS SO ORDERED.

 2         Dated: _____________________,
                       August 6          2018.
 3

 4
                                           _________________________________________
 5                                                  Hon. Beth Labson Freeman
                                                   United States District Court Judge
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     STIPULATION AND [PROPOSED] ORDER            5                CASE NO.: 5:15-CV-00966-BLF
     AMENDING SCHEDULING ORDER REGARDING
     EXPERT DISCOVERY
